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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 CHERISE MORGAN                                §
                                               §
        Plaintiff,                             §
 v.                                            §
                                               §
 THE TEXAS A&M UNIVERSITY                      §   CIVIL ACTION NO. ______________
 SYSTEM                                        §
                                               §
                                               §
        Defendants                             §



                        PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Cherise Morgan now files this Original Complaint against Defendant

Texas A&M University, for discrimination and retaliation in violation of Title VII of the

1964 Civil Rights Act, as follows.

                                        I. PARTIES

       1.     Plaintiff Cherise Morgan is an individual residing in Brazos County, Texas.

       2.     Defendant The Texas A&M University System (herein “TAMU”) is a public

university system which operates the Texas A&M University in College Station, Texas.

In may be served with process through its Chancellor, John Sharp, Moore/Connally

Building, 7th Floor, 301 Tarrow, College Station, Texas 77840-7896.

                            II. JURISDICTION AND VENUE

       3.     This Court has jurisdiction over this matter under 28 U.S.C. §1331, as it

raises claims under the 1964 Civil Rights Act, 42 U.S.C. 2000e, et seq.




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         4.   Venue is proper in the Southern District of Texas, Houston Division,

because all or a substantial part of the actions complained of occurred in Brazos County,

Texas.

                                       III. FACTS

         6.   Ms. Morgan was employed with TAMU for over ten years. She initially

was hired for analytical services, but was moved to Cost Analysis and then to the

Department of Accounting Services (DAS). In 2018, Solomon Loche, who was Financial

Accountant at the Galveston campus, but performing tasks unrelated to Ms. Morgan’s

work, was promoted to the position of Assistant Director, a job that had not been posted.

One of his first tasks was to talk to employees in the department about the nature of their

positions and duties and whether they had an interest in the position to which he had

been appointed. Ms. Morgan had no interest in that position, as it involved transaction

processing, which was not in her career path. Although no such meeting was held with

Ms. Morgan for months, there was a brief conversation in which she explained to Mr.

Loche what she did and she interacted significantly with the Controller, he expressed his

opinion that this was too much for her to be doing and that she should be reporting to

him, even though her position had never been a direct report to the Assistant Director.

         7.   Although Ms. Morgan did not report to him at the time, as Assistant

Director Loche made comments that marginalized and trivialized her work. While

Assistant Director, Mr. Loche told Ms. Morgan that he was “surprised” that Ms. Morgan

was not “married to a white man. They usually scoop you up,” referring to “exotic”

women like Ms. Morgan, who was raised in the U.S. Virgin Islands.


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       8.     In or around July of 2019, Loche was promoted to the position of Director,

and he immediately began butting heads with Ms. Morgan. He complained that when

he was the Assistant Director, she had not “trained” him in the areas of her responsibility,

including compliance, costs accounting, and financial allocations. She explained that at

the time he was not her supervisor, but now that her duties fell under him, she would be

happy to answer any questions he may have.

       9.     Instead of doing so, Loche began marginalizing Ms. Morgan’s role and

interfering with her ability to do her job. Another financial manager, Amy Coates, whose

duties did not include or overlap with Ms. Morgan’s, was tasked with attending financial

meetings previously attended by Ms. Morgan and to address issues that fell under Ms.

Morgan’s responsibilities. Loche consistently excluded Ms. Morgan from meetings that

were essential to her ability to perform her job duties.

       10.    At the same time, Loche micromanaged Ms. Morgan’s work by assigning

her menial tasks outside of her regular job duties, such as monitoring other employees to

make sure that they were at their desks at 8 a.m. and inquiring into office gossip.

       11.    During this same time period, Ms. Morgan heard Mr. Loche complaining

about another female employee and saying that he didn’t like working with “strong,

pushy women.”        Shortly thereafter, he removed the HR liaison duties from that

employee, a Black female, and assigned them to a white female with no prior HR

experience. In December 2019 he also stated to two other employees that he did not like

“black women who wear wigs.”


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      12.    On November 26, 2019, Ms. Morgan sent Mr. Loche an email asking for

clarification of her job duties and complaining about being kept out of the loop and

excluded from meetings. Mr. Loche responded angrily, and the next day announced a

“restructuring” in the department ostensibly due to the need to service more internal

customers at some time in the future. As a result of the restructuring, Ms. Morgan

retained her job title, but her tasks were replaced with primarily transactional work

(essentially AP/AR processing), which Ms. Morgan properly viewed as a step back from

her then-current work, which was more analytical in nature. Her supervisory duties were

shifted so that she was supervising multiple entry-level employees and student workers,

whereas previously she had been a mid-level manager with a financial analyst who

reported to her. Finally, Ms. Morgan’s compliance responsibilities were reassigned by

Mr. Loche to a white female (Ms. Morgan’s subordinate) who had minimal experience in

the area of compliance.

      13.    Ms. Morgan spoke to the Controller, John McCall, about the proposed

reorganization and he initially assured her that she would not be forced to take a

diminished position. He subsequently reversed his position.

      14.    On or about January 10, 2020, TAMU informed Ms. Morgan that she could

accept the new position or be terminated. Ms. Morgan was thus forced to accept the

position on January 13. During this process, Loche asked whether she would later answer

questions about her prior subject matter expertise (\compliance), and she told him that it

would be inappropriate, since he was assigning that responsibility to someone else. The


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issue was left open, but Ms. Morgan did not agree to train her replacement. Loche knew

or should have known that such a request would be demeaning and humiliating to Ms.

Morgan after she had those duties involuntarily taken from her.

      15.    On January 15, 2020, Ms. Morgan filed her Charge of Discrimination with

the U.S. Equal Employment Opportunity Commission. Alleging sex, race, and age

discrimination.

      16.    Upon taking the new position, Ms. Morgan learned that the reorganization

was significantly premature, as the customer service program, a “ticketing” system, for

which she would be responsible would not be implemented for another 12-18 months.

Despite all of this, Ms. Morgan threw herself into the new position with the determination

to contribute as much as she could to her new duties. On the one occasion when her

former direct report came to her with a question posed by an auditor, Ms. Morgan

answered her question. There was never a time that she refused to answer questions.

      17.    However, as soon as Ms. Morgan began performing her new duties, she

was placed under heightened scrutiny by Mr. Loche, who questioned her decisions and

magnified minor issues. On a regular basis he would mention the EEOC complaint to

her, but then refuse to discuss it. His hostility towards Ms. Morgan as a result of the

Charge of Discrimination became starkly evident on January 30, 2020, during a meeting

between Mr. Loche and Ms. Morgan regarding yet another change in responsibilities. An

HR representative was present for the meeting, and Mr. Loche stated that HR was there

because he didn’t trust Ms. Morgan and because she had personally attacked him and

questioned his character by complaining to the EEOC.


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       18.    As further retaliation, upon information and belief, Mr. Loche approached

HR regarding denying flex time to Ms. Morgan, who was recently divorced and needed

to be in Houston on Fridays as part of the custody arrangement for her child. Upon

information and belief, HR advised Mr. Loche that he could not make a change that

would affect only Ms. Morgan, so he elected to eliminate flex time from the department

as a whole, knowing tht the decision would have the greatest impact on Ms. Morgan.

       19.    On March 2, 2020, Mr. Loche abruptly terminated Ms. Morgan’s

employment, offering no reason for the decision. Mr. Loche had never given Ms. Morgan

a performance review or issued any type of discipline to her prior to the termination.

Later, in a conversation with HR, Ms. Morgan was told that she was terminated for

insubordination for refusing to answer a subordinate’s question, which was not true. In

a subsequent e-mail, TAMU added to the reasons for termination that Ms. Morgan was

creating a “toxic work environment,” which Plaintiff contends was a dog-whistle for

retaliation for engaging in protected activity.

       20.    Ms. Morgan appealed her termination internally, but to no avail. She

contacted the EEOC again and was asked to complete an Intake form for her claim of

retaliatory discharge. She did so, and the EEOC added that complaint to the scope of the

existing investigation.

       21.    The EEOC issued a Notice of Right to Sue on June 29, 2021. This Complaint

is being filed within ninety (90) days of Ms. Morgan’s receipt of that Notice.




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                                  IV. CAUSES OF ACTION

                             A. Race Discrimination—Title VII

        22.     Plaintiff re-alleges and incorporates Paragraphs 1-21 herein by reference as

if set out in full.

        23.     Ms. Morgan was at all relevant times employed by TAMU, and at all

relevant times TAMU was an “employer” as defined under Title VII of the 1964 Civil

Rights Act.

        24.     TAMU discriminated against Ms. Morgan in the terms and conditions of

her employment because of her race and color, Black, culminating in the termination of

her employment.

        25.     As a result of Defendant’s unlawful conduct, Plaintiff has suffered

damages, the recovery of which she seeks herein.

        26.     Plaintiff has been required to retain the undersigned counsel in order to

assert her rights under Title VII of the 1964 Civil      Rights   Act   and   therefore   is

entitled to recover her reasonable and necessary attorney’s fees.

                               B. Sex Discrimination: Title VII

        27.     Plaintiff re-alleges and incorporates Paragraphs 1-26 herein by reference as

if set out in full.

        28.     Ms. Morgan was at all relevant times employed by TAMU, and at all

relevant times TAMU was an “employer” as defined under Title VII of the 1964 Civil

Rights Act.




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        29.     TAMU discriminated against Ms. Morgan in the terms and conditions of

her employment because of her sex, female, culminating in the termination of her

employment.

        30.     As a result of Defendant’s unlawful conduct, Plaintiff has suffered

damages, the recovery of which she seeks herein.

        31.     Plaintiff has been required to retain the undersigned counsel in order to

assert her rights under Title VII of the 1964 Civil rights Act and therefore is entitled to

recover her reasonable and necessary attorney’s fees.

                                    C. Retaliation: Title VII

        32.     Plaintiff re-alleges and incorporates Paragraphs 1-31 herein by reference as

if set out in full.

        33.     Ms. Morgan engaged in protected activity under Title VII of the 1964 Civil

rights Act by complaining of race and sex harassment both internally and by filing a

Charge of Discrimination with the EEOC.

        34.     TAMU discriminated against and terminated Ms. Morgan in retaliation for

her having engaged in such protected activity.

        35.     Plaintiff has been required to retain the undersigned counsel in order to

assert her rights under Title VII of the 1964 Civil rights Act and therefore is entitled to

recover her reasonable and necessary attorney’s fees.

                                    V.     JURY DEMAND

        36.     Plaintiff requests a trial by jury.




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                                      V. PRAYER

      WHEREFORE, Plaintiff Cherise Morgan requests that the Court enter judgment in

her favor and order that she recover from Texas A&M University the following:

             1.     Actual damages;

             2.     Compensatory damages;

             3.     Costs of court;

             4.     Reasonable and necessary attorney’s fees;

             5.     Pre- and post-judgment interest at the highest rate permitted by law;

                    and

             6.     Any additional relief to which the Court finds Plaintiff justly

                    entitled.


                                               Respectfully submitted,

                                               /s/R.S. Ghio

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